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                        UNITED STATES DISTRICT COURT
                           Northern District of California

                                       CIVIL MINUTES
Date: June 27, 2023                                                       Time: 6:58

Judge: Jacqueline Scott Corley

Case Number: 23-cv-02880-JSC

Case Name: Federal Trade Commission v. Microsoft Corporation, et al.


Attorneys for Plaintiff FTC: James Weingarten/Alex Ansaldo/Nicole Callan/Peggy Bayer
Femenella/Jenny Fleury/Meredith Levert/Merrick Pastore

Attorneys for Defendant Microsoft: Beth Wilkinson/Kieran Gostin/Grace Hill/Rakesh
Kilaru/Anastasia Pastan

Attorneys for Defendant Activision Blizzard: Steven Sunshine/Evan Kreiner/Caroline Van
Ness

Deputy Clerk: Ada Means                                       Court Reporter: Marla Knox


                                        PROCEEDINGS

Evidentiary hearing (Day 3) held. Video testimonies of Jim Ryan and Phil Eisler played.

Examination of Robin Lee and Elizabeth Bailey. Please see trial log for complete details.
